    Case 08-14631-GMB Doc 248-3 Filed 04/30/08 Entered 04/30/08 15:29:18                    Desc
                          Proposed Order Page 1 of 2
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
KELLY BEAUDIN STAPLETON
UNITED STATES TRUSTEE, REGION 3
Donald F. MacMaster, Esquire (DM 0977)
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Newark, NJ 07102
Telephone: (973) 645-3014
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In Re:                                                   Case No.: 08-14631 (GMB)

SHAPES/ARCH HOLDINGS, L.L.C., et al.,                    Chapter 11

Debtors                                                  Hearing Date:

                                                         Judge: Gloria M. Burns

                      ORDER DIRECTING THE APPOINTMENT OF A TRUSTEE

         The relief set forth on the following pages, numbered two (2) is hereby ORDERED.
       Case 08-14631-GMB          Doc 248-3 Filed 04/30/08 Entered 04/30/08 15:29:18                Desc
(Page 2)                              Proposed Order Page 2 of 2
SHAPES/ARCH HOLDINGS, L.L.C., et al.,
Chapter 11, Case No. 08-14631 (GMB)
Order Directing the Appointment of a Trustee
_____________________________________________________________________________


       Upon consideration of the Motion for an Order Directing the Appointment of a Trustee pursuant to 11

U.S.C. § 1104(a) brought by the United States Trustee and the Court having considered the Motion and any

objections thereto, and notice of the motion having been given to Debtors’ counsel, counsel for the unsecured

creditors’ committee and all parties in interest, and the Court having found cause for the appointment of a

Trustee pursuant to 11 U.S.C. § 1104(a) and for the reasons stated on the record, it is hereby:

       ORDERED that the United States Trustee is directed to appoint a Trustee.
